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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY,
  et al.,                                                     Case No.: 1:18-cv-00655-KBJ

                 Plaintiffs,
 v.

 KIRSTJEN M. NIELSEN,
 in her official capacity as Secretary of the U.S.
 Department of Homeland Security, et al.,

                 Defendants.

  DEFENDANTS’ SECOND MOTION FOR AN ENLARGEMENT OF TIME TO FILE
  THEIR REPLY MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 6(b), Defendants hereby respectfully move for

a second enlargement of time of seven days, up to and including Friday, August 10, 2018, within

which to file their Reply Memorandum in Support of Defendants’ Motion to Dismiss. In

accordance with Local Rule 7(m), the undersigned counsel has conferred with counsel for the

Plaintiffs, who represent that they will take no position on this motion.

       Defendants move for this enlargement of time due to the emergent necessity to assign new

counsel to this case on behalf of the government. That counsel, who has familiarity with the issues

before the Court, is in trial for the remainder of this week in another case also before this same

United States District Court, and will accordingly not be able to turn his attention to the case at bar

until this coming weekend. Although counsel will work as expeditiously as possible, Defendants

anticipate that they will need up to and including Friday, August 10, within which to prepare and

file their Reply Memorandum.




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JOINT MOTION FOR EXTENSION OF TIME TO REPLY
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       Defendants assure the Court that they bring this motion only out of necessity owing to

wholly unforeseen events. Defendants deeply regret the delay that results from this request for a

second enlargement of time, and also sincerely regret any inconvenience to Plaintiffs or the Court

that might arise from this request.

                                              CONCLUSION

       For the foregoing reasons, Defendants respectfully request that they be given until Friday,

August 10, 2018, within which to file their reply memorandum in support of their motion to

dismiss.


Dated: August 2, 2018                            Respectfully submitted,

                                                 CHAD READLER
                                                 Acting Assistant Attorney General

                                                 /s/ John R. Tyler
                                                 JOHN R. TYLER (D.C. Bar. No. 297713)
                                                 Assistant Director
                                                 United States Department of Justice
                                                 Civil Division, Federal Programs Branch
                                                 20 Massachusetts Ave. NW, Room 7154
                                                 Washington, D.C. 20530
                                                 Tel: (202) 514-2356 / Fax: (202) 616-8460
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                                                 Counsel for Defendants




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY,
  et al.,                                                 Case No.: 1:18-cv-00655-KBJ

                Plaintiffs,
 v.                                                           [PROPOSED] ORDER

 KIRSTJEN M. NIELSEN,
 in her official capacity as Secretary of the
 U.S. Department of Homeland Security, et al.,

                Defendants.



       Upon consideration of Defendants’ Second Motion for an Enlargement of Time to File

their Reply Memorandum in support of their Motion to Dismiss, and for good cause shown, it

HEREBY ORDERED that Defendants’ motion is granted, whereby Defendants have up to and

including Friday, August 10, 2018, within which to file their Reply Memorandum.



IT IS SO ORDERED.

Date: ______________________                         ___________________________________
                                                     KETANJI BROWN JACKSON
                                                     United States District Judge




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JOINT MOTION FOR EXTENSION OF TIME TO REPLY
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